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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


 UNITED STATES OF AMERICA               )
                                        )
       v.                               )      1:12-cr-00160-JAW-03
                                        )
 ROBERT BERG                            )


             ORDER DENYING MOTION TO AMEND JUDGMENT

       The Court concludes it is without authority to amend a sentencing judgment

 to effect a defendant’s release from incarceration into an early release program.

 I.    BACKGROUND

       On August 7, 2015, the Court sentenced Robert Berg to six months

 incarceration for acting as an accessory after the fact to the manufacturing of 1,000

 or more marijuana plants. J. (ECF No. 573). On December 18, 2015, Mr. Berg moved

 to amend the Judgment to reduce his sentence of imprisonment by 18 days, or 10%,

 and requested oral argument on the motion. Def.’s Mot. to Amend J. (ECF No. 601)

 (Def.’s Mot.); Mot. for Oral Arg. (ECF No. 605). The Government objected on January

 5, 2016. Gov’t’s Obj. to Def.’s Mot. to Amend J. (ECF No. 603) (Gov’t’s Opp’n). Mr.

 Berg replied on January 14, 2016. Def.’s Reply to Gov’t’s Obj. to Def.’s Mot. to Amend

 J. and Req. for Oral Arg. (ECF No. 604).

 II.   THE PARTIES’ POSITIONS

       A.     Robert Berg’s Motion

       In his motion, Mr. Berg explains:
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           [A]lthough federal inmate[s] are normally eligible to serve the final 10%
           of their sentences in some combination of community or home
           confinement, pursuant to Bureau of Prison (BOP) re-entry programs,
           the BOP staff at Fort Devens (Devens) advised [Mr. Berg] that they are
           not going to process the paperwork because they feel it will not get done
           by the time he is released.

 Def.’s Mot. at 1. Mr. Berg says that when he reported to Devens, the staff told him

 that his full term release date would be April 10, 2016 and that his home detention

 eligibility date was March 24, 2016.1 Id. Citing 18 U.S.C. §§ 3621(b), 3624(c) and

 BOP policy, Mr. Berg asserts that “low risk offenders are normally eligible to serve

 the final 10% of their sentences either in home confinement or some combination of

 community and home confinement.” Id. at 2. Mr. Berg calculates the 10% figure as

 equaling 18 days, making him eligible for early release on March 24, 2016. Id.

 However, he says that the staff at Devens clarified that because of timeline concerns

 for processing paperwork, he would not be considered for early release to home

 confinement because his term of incarceration was six months or less. Id. Mr. Berg

 proposes that the “only way at present to provide Mr. Berg the opportunity for release

 on March 24, 2016 would be for the Court to amend its 6-month sentence to reduce

 Mr. Berg’s sentence by 10% (18 days).” Id.

           B.     The Government’s Opposition

           The Government objects. Gov’t’s Opp’n at 1-2. The Government contends that

 the Court is “without authority to grant [Mr. Berg] the relief he seeks.” Id. at 1. The

 Government observes that Mr. Berg failed to cite “any rule or statute upon which the



 1         For support, Mr. Berg cites Exhibit 1. Def.’s Mot. at 1. No Exhibit 1 was attached to the
 motion.

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 Court could grant the relief that he seeks . . . .” Id. Quoting United States v. Larsen,

 No. 1:05-cr-00062-JAW, 2013 U.S. Dist. LEXIS 15849, at *4, 2013 WL 448761, at *2

 (D. Me. Feb. 6, 2013), the Government notes that “[a]fter a sentence is imposed, the

 law strictly constrains a sentencing court’s authority to reduce a sentence and the

 grounds upon which it may do so.” Def.’s Mot. at 1.

       Furthermore, the Government noted that the purposes of the BOP re-entry

 program include protection of the public and avoiding the risk of recidivating. Id. at

 2 n.2. The Government writes that Mr. Berg, “a wealthy businessman, with strong

 family support, an established residence and business, who poses virtually no risk of

 recidivism following service of a relatively brief prison term does not appear to be the

 type of offender that the re-entry program was designed for.” Id.

       The Government attached to its response as Exhibit 1 a series of BOP

 documents. Id. Attach. 1 BOP Docs. (ECF No. 603) (BOP Docs.). One is titled

 “Residential Re-Entry Center Consideration” dated November 6, 2015. Id. at 4. In

 this document, after reviewing Mr. Berg’s circumstances, the Unit Manager stated

 that “[w]e do not recommend RRC [Residential Re-Entry Center] Placement due to

 insufficient time to process a referral given the short sentence length.” Id.

       A second attached document entitled “Inmate Request to Staff” is dated

 December 10, 2015 and is signed by Mr. Berg. Id. at 2. In the document, Mr. Berg

 requested “something in writing” as to why he was being denied “the 10% home

 confinement that is offered to other inmates via 3624C.” Id.




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       A third document dated December 11, 2015 is a four-paragraph memorandum

 signed by J. Grondolsky, the Warden, explaining the BOP’s decision. Id. at 1. In that

 document, Warden Grondolsky listed the factors the BOP reviews in determining

 whether an inmate is appropriate for RRC release. Id. Warden Grondolsky noted

 that the BOP takes a “number of factors” into account, including:

       the inmate’s need for re-entry services, the resources and ability of the
       RRC to meet the offender’s needs, the nature and circumstances of the
       inmate’s offense, the inmate’s history, any statement by the sentencing
       court regarding a period of community confinement, any potential risks
       to public safety, and the need for the [BOP] to manage the inmate
       population in a responsible manner.

 Id.

       Warden Grondolsky wrote that “not all inmates are appropriate for RRC

 placement and the length of placement must be determined on an individual basis in

 accordance with the guidance outlined.” Id. Citing the BOP Program Statement

 7310.04 of the Community Corrections Center (CCC) Utilization and Transfer

 Procedure, Warden Grondolsky stated that “inmates serving sentences of six months

 or less shall not ordinarily participate in CCC programs.” Id. Warden Grondolsky

 noted that Mr. Berg’s “release plan was recently approved by probation staff” and

 that he had “employment possibilities and significant resources.”       Id.   Warden

 Grondolsky informed Mr. Berg that he agreed with the assessment of his “assigned

 unit team” and that the BOP must “balance each inmate’s individual needs with the

 agency’s duty to use its limited resources judiciously.”      Id.   Finally, Warden

 Grondolsky advised Mr. Berg that he could “contest any aspect of your confinement

 utilizing the Administrative Remedy Program.” Id.

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        Finally, there is a document dated December 21, 2015 in which a staff member

 notes that in light of Warden Grondolsky’s written response, “no other written

 statement is necessary” in response to Mr. Berg’s December 10, 2015 request to staff.

 Id. at 2.

        C.    Robert Berg’s Reply

        Robert Berg filed a reply on January 14, 2016. Def.’s Reply at 1-3. Mr. Berg

 says that his motion to amend judgment is based on the BOP “policy for early release

 available to all low-risk offenders, though admittedly, not guaranteed.” Id. at 1. Mr.

 Berg seems to agree with the Government that he is not the type of inmate who poses

 the re-entry problems the re-entry program was designed to mitigate.          Id. (“As

 suggested by the Government . . . , such consideration is not available to Mr. Berg”).

        In reply to the Government’s challenge to cite legal authority for his requested

 relief, Mr. Berg attached a motion and order from the District of Massachusetts in

 the case of United States v. Olen, 1:15-cr-10005-RWZ-1 (D. Mass.), where an inmate

 moved for a similar reduction and the district judge granted the motion for a 10%

 reduction. Id. at 1-2.

 III.   DISCUSSION

        “After a sentence is imposed, the law strictly constrains a sentencing court’s

 authority to reduce a sentence and the grounds upon which it may do so.” Larsen,

 2013 U.S. Dist. LEXIS 14849, at *4 (citing 18 U.S.C. § 3582(c); United States v.

 Leland, 584 F. Supp. 2d 237, 239 (D. Me. 2008); United States v. Tyler, 417 F. Supp.

 2d 80, 82-85 (D. Me. 2006)). The law provides:



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       (c) Modification of an imposed term of imprisonment. The court may not
       modify a term of imprisonment once it has been imposed except that--
           (1) in any case--
               (A)       the court, upon motion of the Director of the [BOP], may
               reduce the term of imprisonment . . . after considering the factors
               set forth in section 3553(a) to the extent that they are applicable,
               if it finds that
                    (i)     extraordinary and compelling reasons warrant such a
                            reduction; or
                    (ii)    the defendant is at least 70 years of age, has served at
                            least 30 years in prison, pursuant to a sentence imposed
                            under section 3559(c), for an offense . . . for which the
                            defendant is currently imprisoned, and a determination
                            has been made by the Director of the [BOP] that the
                            defendant is not a danger to the safety of any other
                            person or the community, as provided under section
                            3142(g);
                    and that such a reduction is consistent with applicable policy
                    statements issued by the Sentencing Commission; and
               (B)       the court may modify an imposed term of imprisonment to
               the extent otherwise expressly permitted by statute or by Rule 35
               of the Federal Rules of Criminal Procedure; and
           (2) in the case of a defendant who has been sentenced to a term of
               imprisonment based on a sentencing range that has subsequently
               been lowered by the Sentencing Commission pursuant to 28
               U.S.C. [§] 994(o), upon motion of the defendant or the Director of
               the [BOP], or on its own motion, the court may reduce the term of
               imprisonment, after considering the factors set forth in section
               3553(a) to the extent that they are applicable, if such a reduction
               is consistent with applicable policy statements issued by the
               Sentencing Commission.

 18 U.S.C. § 3582(c) (emphasis provided). None of these provisions applies to Mr. Berg:

 (1) he is not seventy years of age or older, he has not served at least thirty years in

 prison, and the Director of the BOP has not moved for his release; (2) there is no Rule

 35 motion before the Court and Mr. Berg has cited no other statutory provision that

 would permit the relief he is requesting; and (3) the Sentencing Commission has not

 lowered his sentencing guideline range since the date of his sentencing.



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       Moreover, Rule 35 does not assist Mr. Berg. Rule 35 reads:

       (a)    Correcting Clear Error. Within 14 days after sentencing, the
       court may correct a sentence that resulted from arithmetical, technical,
       or other clear error.
       (b)    Reducing a Sentence for Substantial Assistance.
              (1)     In General. Upon the government’s motion made within
              one year of sentencing, the court may reduce a sentence if the
              defendant, after sentencing, provided substantial assistance in
              investigating or prosecuting another person.
              (2)     Later Motion. Upon the government’s motion made more
              than one year after sentencing, the court may reduce a sentence
              if the defendant’s substantial assistance involved:
                      (A) information not known to the defendant until one
                      year or more after sentencing;
                      (B) information provided by the defendant to the
                      government within one year of sentencing, but which did
                      not become useful to the government until more than one
                      year after sentencing; or
                      (C) information the usefulness of which could not
                      reasonably have been anticipated by the defendant until
                      more than one year after sentencing and which was
                      promptly provided to the government after its usefulness
                      was reasonably apparent to the defendant.
              (3)     Evaluating Substantial Assistance. In evaluating whether
              the defendant has provided substantial assistance, the court may
              consider the defendant’s presentence assistance.
              (4) Below Statutory Minimum. When acting under Rule 35(b),
              the court may reduce the sentence to a level below the minimum
              sentence established by statute.
       (c)    “Sentencing” Defined. As used in this rule, “sentencing” means
       the oral announcement of the sentence.

 FED. R. CRIM. P. 35. Rule 35(a) is limited both in time and scope. To come within its

 provisions, Mr. Berg would have to have filed his motion within fourteen days of the

 judgment and his motion would have to have been based on the Court’s “arithmetical,

 technical, or other clear error.” FED. R. CRIM. P. 35(a). He failed to comply with the

 time and substance provisions of Rule 35(a).       To come within Rule 35(b), the




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 Government would have had to move for a reduction of Mr. Berg’s sentence based on

 his substantial assistance, which it has not done. See Tyler, 417 F. Supp. 2d at 84.

       Another avenue is the First Circuit Court of Appeals. Section 3742 of title 18

 allows a defendant to file a notice of appeal in the district court for review of an

 otherwise final sentence if the sentence:

       (1)    was imposed in violation of law;
       (2)    was imposed as a result of an incorrect application of the
       sentencing guidelines; or
       (3)    is greater than the sentence specified in the applicable guideline
       range to the extent that the sentence includes a greater fine or term of
       imprisonment, probation, or supervised release than the maximum
       established in the guideline range, or includes a more limiting condition
       of probation or supervised release under section 3563(b)(6) or (b)(11)
       than the maximum established in the guideline range; or
       (4)    was imposed for an offense for which there is no sentencing
       guideline and is plainly unreasonable.

 18 U.S.C. § 3742(a). But Mr. Berg has not filed a notice of appeal with the Court of

 Appeals for the First Circuit, the appeals court has not modified his sentence, and he

 has not asserted that any of the bases of § 3742(a) would apply to his case.

       A final possibility is a petition for a writ of habeas corpus: 28 U.S.C. § 2241.

 Mr. Berg has not filed such a petition; instead, he is moving to amend his sentencing

 judgment.    If Mr. Berg were to file such a petition, he would be required to

 demonstrate that he had exhausted his administrative remedies. Moscato v. Fed.

 Bureau of Prisons, 98 F.3d 757, 760 (3d Cir. 1996) (“Federal prisoners are ordinarily

 required to exhaust their administrative remedies before petitioning for a writ of

 habeas corpus pursuant to § 2241”); cf. United States v. Whalen, No. 1:11-cr-00033-

 JAW, 2013 WL 5570955, at *2 (D. Me. Oct. 8, 2013) (“Except in unusual



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 circumstances not present here, the Court does not have the authority to transfer

 [defendant] to a community correctional center”) (citing Muniz v. Sabol, 517 F.3d 29,

 42 (1st Cir. 2008)).    There is no suggestion that Mr. Berg has exhausted his

 administrative remedies on this record. See BOP Docs. at 1 (“Also, you may contest

 any aspect of your confinement utilizing the Administrative Remedy Program”). And

 even if he had done so, “that claim would lie not in this District, but in the jurisdiction

 where he is incarcerated . . . .” United States v. Stewart, No. 2:03-cr-102-DBH, 2015

 U.S. Dist. LEXIS 19594, *4 (D. Me. Feb. 18, 2015); see also United States v. Fenton,

 577 F. Supp. 2d 458, 459 (D. Me. 2008) (“[T]o the extent that Defendant’s Motion can

 be read to argue that the Bureau of Prisons is somehow not complying with the

 regulations that govern the Inmate Financial Responsibility Program, such a

 challenge must be brought as a habeas petition pursuant to 28 U.S.C. § 2241 in the

 district in which the defendant is incarcerated”).

       Finally, a brief review of the BOP Program Statement on CCC Utilization and

 Transfer Procedure indicates that Mr. Berg does not qualify under that program:

       10. LIMITATIONS ON ELIGIBILITY FOR ALL CCC REFERRALS.
       Inmates in the following categories shall not ordinarily participate in
       CCC programs:
             …
             (g) Ordinarily, inmates serving sentences of six months or less.

 BOP Program Statement 7310.04, Community Corrections Center (CCC) Utilization

 and Transfer Procedure, at 10-11, http://www.bop.gov/policy/progstat/7310_004.pdf

 (last visited Jan. 26, 2016) (CCC Program Statement).            Mr. Berg’s sentence of




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 incarceration was six months, J. at 2, so Mr. Berg would be an exception to the

 general rule against the program’s applicability to inmates like him.

       Furthermore, although it may seem unfair or counterintuitive to Mr. Berg that

 the BOP refuses to release him early because he poses a low risk of recidivism, as

 Warden Grondolsky pointed out, the BOP has a limited budget and must direct its

 resources to ease the transition from prison to society for those prisoners who will

 most benefit from the re-entry program. Typically, it is those inmates with drug and

 alcohol problems who would benefit from counseling, those without a stable

 residence, those without job skills or an available job, and those with mental health

 issues who would benefit from intensive oversight. See CCC Program Statement at 5

 (“The CCC is designed to meet the needs of higher risk prerelease inmates and

 consists of six different levels of supervision, ranging from 24-hour confinement to

 Home Confinement. It also may have an intensive treatment component consisting

 of substance abuse education and treatment, life skills training, mental health

 counseling, education, employment assistance, and mentoring”).          Mr. Berg is

 fortunate in having none of these issues. Even though he would like to participate in

 the program to get out early, he has not claimed that he needs the services the

 program provides. Thus, what Mr. Berg seeks is not so much a re-entry program as

 simple early release, and the Court perceives no grounds on which it can grant early

 release.

       The Court acknowledges that a district judge in the District of Massachusetts

 granted a similar motion. See Olen, 1:15-cr-10005-RWZ-1 (D. Mass.). While the



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 Massachusetts district judge granted the motion as an endorsed order the day after

 it was filed, id., neither the motion nor the order describes the authority for such an

 order. Id.; Def.’s Reply Attach. 2 Crim. Docket for Case #: 1:15-cr-10005-RWZ-1 at 6.

 Although it does not appear in the motion or order, Mr. Berg represents that in the

 Massachusetts case, “[a]pparently, no Objection was entered by the Government.”

 Def.’s Reply at 2. Mr. Berg’s motion is different. Here, the Government opposed his

 motion and therefore the Court scoured the legal landscape to determine whether

 there are any signs that Court is authorized over objection to provide Mr. Berg the

 relief he has requested. It found none.

       Finally, Mr. Berg moves for oral argument. The Court denies his motion for

 oral argument because it would only delay the disposition of his motion to amend

 judgment and the parties have had an ample opportunity to argue their positions in

 their written submissions.

 IV.   CONCLUSION

       The Court DENIES Defendant’s Motion to Amend Judgment (ECF No. 601);

 the Court DENIES Defendant’s Motion for Oral Argument/Hearing (ECF No. 605).

       SO ORDERED.


                                  /s/ John A. Woodcock, Jr.
                                  JOHN A. WOODCOCK, JR.
                                  UNITED STATES DISTRICT JUDGE

 Dated this 28th day of January, 2016




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